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                                   UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF LOUISIANA
                                         MONROE DIVISION


STATE OF MISSOURI ET AL                                      CASE NO. 3:22-CV-01213

VERSUS                                                       JUDGE TERRY A. DOUGHTY

JOSEPH R BIDEN JR ET AL                                      MAG. JUDGE KAYLA D. MCCLUSKY


                                 NOTICE OF MOTION SETTING WITHOUT DATE

         The Motion to Dismiss for Lack of Jurisdiction, Motion to Dismiss for Failure to State a Claim (Document No. 35)
filed by Xavier Becerra, Joseph R Biden, Jr, Cybersecurity & Infrastructure Security Agency, Centers for Disease Control
& Prevention, Jen Easterly, Anthony Fauci, Dept of Health & Human Services, Dept of Homeland Security, Nina
Jankowicz, Alejandro Mayorkas, Vivek H Murthy, National Institute of Allergy & Infectious Diseases, Jennifer Rene Psaki
on July 12, 2022 has been referred to Honorable Kayla D. McClusky.

                                                        Deadlines

        Any response to said motion is due by August 3, 2022. The movant may file a reply, without leave of court, within
seven (7) days after the response is filed. LR7.8 governs the length of briefs. Any party filing no brief will be deemed not
to oppose the motion. At the close of the briefing period, the record will be submitted to the Magistrate Judge for
consideration; a written ruling or recommendation will issue in due course.

                                                    No Oral Argument

        It is the policy of the Court to decide motions on the basis of the record WITHOUT ORAL ARGUMENT.
Accordingly, responses and briefs should fully address all pertinent issues. Should the Court feel oral argument is
necessary, all parties will be notified.

                                                     Courtesy Copies

       An electronic copy of the motion and all memoranda only (no attachments) shall be e-mailed in WordPerfect or
Word Format DIRECTLY to:

                          mcclusky_motions@lawd.uscourts.gov

       If attachments to the motion or response exceed 15 pages, paper copies of the attachments shall be provided to
chambers:

                                  Hon. Kayla D. McClusky
                                  United States Magistrate Judge
                                  201 Jackson Street, Suite 307
                                  Monroe, Louisiana 71201

ALL DEADLINES SET FORTH IN THE SCHEDULING ORDER SHALL REMAIN IN PLACE UNLESS
OTHERWISE ORDERED BY THIS COURT.

        If the parties resolve any matters raised in this motion, the moving party should immediately notify chambers at
(318) 654-6510.

DATE OF NOTICE: July 13, 2022

                                                  TONY R. MOORE
                                                  CLERK OF COURT
